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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 1 of11

FILED
NICHOLAS A. TRUTANICH mS =

United States Attorney

District of Nevada 2019 AUG -9 AM 9:37
Nevada Bar Number 13644 a kbamteem ee
NICHOLAS D. DICKINSON U.S. MAGISTRATE JUDGE

National Security & Civil Rights Section.
Assistant United States Attorney

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Counsel for the United States

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
-0O0-
UNITED STATES OF AMERICA, | COMPLAINT
, Magistrate No.  2:19-mj-593-NJK
Plaintiff
We. VIOLATIONS:
18 U.S.C. §§ 5841, 5861(d) and 5871 —

CONOR CLIMO, Possession of an Unregistered Firearm

Defendant.

 

 

 

BEFORE the United States Magistrate Judge, Las Vegas, Nevada, the undersigned
Complainant, being duly sworn, deposes and states:

Count One
(Possession of an Unregistered Firearm)

On or about August 8, 2019,
CONOR CLIMO,
knowingly possessed firearms, specifically destructive devices, as that term is defined in Title 18

United States Code, Section 5845(f), that were not registered to him in the National Firearms

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 2 of 11

Registration and Transfer Record. All in violation of Title 26 United States Code, Sections
5841, 5861(d) and 5871.
AFFIANT EXPERIENCE

1. Iam a Special Agent (“SA”) with the Federal Bureau of Investigation (“FBI”),
and have employed by the FBI for approximately 10 years and have 5 years of experience as a
police officer with the York City Police Department, York Pennsylvania. I am currently
assigned to the Las Vegas FBI Joint Terrorism Taskforce (“JTTF”) and I am responsible for
investigating Domestic Terrorism, including Racially Motivated Violent Extremism.

ZL. The following information contained within this criminal complaint is based
upon my participation in this investigation or information provided to me by other JTTF
members and law enforcement personnel. Because this Affidavit is being submitted for the
limited purpose of securing a Criminal Complaint, I have not included each and every fact
known to me concerning this investigation. I have set forth only those facts that I believe are
necessary to establish probable cause for the above listed offense. All times noted are
approximate.

PROBABLE CAUSE

3. In April 2019, The Las Vegas JT TF began actively investigating Conor Climo
(“CLIMO”) based on information that CLIMO was communicating with individuals who
identified with the white supremacist extremist group Atomwaffen Division (“AWD”). AWD
is a White Supremacist Extremist Organization using the National Socialist Movement to
promote their ideology. AWD membership consists of mostly white males between the ages of
approximately 16 to 30 years of age who all believe in the superiority of the white race. AWD
utilizes a “Leaderless Resistance” strategy in which small independent groups, or individuals

called “Lone Wolves,” try to achieve a common goal of challenging the established laws, social

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 3 of 11

order, and government via terrorism and other violent acts. AWD encourages attacks on the
federal government, including critical infrastructure, minorities, homosexuals, and Jews.

AWD works to recruit like-minded members to the organization, train them in military tactics,
hand to hand combat, bomb making, and other techniques in preparation for an “ultimate and
uncompromising victory” in a race war. Because one of AWD’s goals is to maintain
anonymity, members primarily communicate using online encrypted chat applications, such as
Wire and Discord. Wire is an encrypted communication program on which users can transmit
text messages and files. Discord is an application designed initially for the video gaming
community that specializes in text, image, video, and audio communication between users in a
chat channel. Both applications for Wire and Discord can be downloaded, used, and stored on
any computer, tablet, and cellular telephone.

4. In 2016, a local Las Vegas news report featured CLIMO patrolling his
Centennial Hills neighborhood carrying an AR-15 style assault rifle, four magazines each
containing 30 rounds of ammunition, and wearing a tactical vest.
https://www.youtube.com/watch?v=rxilsJXDrOO

5. An open source search revealed a Quora social media account registered to
CLIMO. Quora is an American question-and-answer website where questions are asked,
answered, and edited by Internet users in the form of opinions. On January 1, 2017, CLIMO
answered the following question on Quora: “What are the downsides of multiculturalism?”
CLIMO ended his answer with the following: “To quote a Nationalist: ‘your most precious
possession on this earth is your people!’” This quote is from Adolph Hitler and is regularly
used by extremist individuals and groups. Additionally, CLIMO’S profile picture on his Quora

account is of an AR-15 style rifle which resembles the rifle he used in 2016 to patrol his

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 4 of 11

Centennial Hills neighborhood. As discussed below, CLIMO also used a firearm as his profile
picture on his Wire account.

6. In May 2019, an FBI confidential human source (“CHS”), who has provided
reliable and accurate information in the past, established contact with CLIMO on the
Wire.com encrypted online chat application. The CHS told CLIMO that the CHS was a “far-
right ally” who found a website identifying CLIMO as a member of AWD. From that point
on, CLIMO maintained regular contact with the CHS. CLIMO’s Wire profile picture is a
photograph of a bolt-action rifle.

7. During initial conversations with the CHS, CLIMO acknowledged being in the
Las Vegas area and owning a Compact 92fs firearm. CLIMO discussed, in detail, how to build
a “Self Contained Molotov” by using “gasoline + sulfuric acid inside a Double Magnum Wine
Bottle.”

8. During CLIMO’s conversations with both the CHS and an FBI Online Cover
Employee (““OCE”) CLIMO would regularly use derogatory racial, anti-Semitic, and
homosexual slurs.

9, On or about May 10, 2019, the CHS had an online conversation with CLIMO
during which Climo discussed setting fire to a synagogue and making Molotov Cocktails and
Urea Nitrate Improvised Explosive Devices (“TEDS”). CLIMO stated that in October 2017, he
tried to recruit a homeless person to conduct surveillance on a Las Vegas area synagogue, but
ultimately failed.

10. On May 23, 2019, an FBI OCE, with experience and training investigating
violent white supremacist extremist groups and individuals, established contact with user
CLIMO on the Wire encrypted online chat application through an introduction by the CHS.

During their first conversation, the FBI OCE states that he/she heard CLIMO was “someone

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 5of11

worth talking to.” CLIMO replied, “I am more interested in action than online shit.” After
discussing his military experience’ with explosives and IEDS, CLIMO talked about being a
security guard living in Las Vegas.

11. The FBI OCE asked, “What are you looking to do with the group? What are
your goals?” CLIMO replied, “Mainly help out as best as I can & further the cause.” The FBI
OCE also asked, “What have you been involved with before?” CLIMO responded, “Also I live
in Las Vegas & have found a ADL Headquarters at 215 & Eastern.” I believe CLIMO is
referring to the Anti-Defamation League (“ADL”), which is an international Jewish non-
governmental organization based in the United States. The ADL has an office in Las Vegas.

12. I believe that CLIMO’s stated intent to “further the cause” references CLIMO’s
desire to engage in anti-Semitic and Anti-homosexual violent extremism. My opinion is based
on CLIMO’s discussion of the ADL and as set forth below, CLIMO’s plans for committing
violent attacks both on a synagogue and a bar CLIMO believe catered to homosexuals.

13. In another online conversation between the CLIMO and the FBI OCE, CLIMO
offered the book “Total Resistance” as a good guide to use when selecting a target. The book
explains guerrilla warfare tactics and how to implement them against an enemy. CLIMO
further discussed identifying a power plant as a good “soft target,” and suggested targeting
police leadership as “Tactical Value Targets,” and “low level political targets (as part of TAC-
VT).” [believe that TAC-VT is an abbreviation for tactical value targets.

14. On or about June 19, 2019, CLIMO talked with the CHS about various weapons.

During the conversation, CLIMO said, “Plus a bolt gun is good enough for me.” The CHS

 

'An analysis of CLIMO’S military records showed that he greatly exaggerated his military and
tactical experience. CLIMO was discharged from the military after approximately 11 months
for actions related to not being able to perform specific required duties.

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 6 of 11

replied, “Oh yeah. Bolt rifles are, IMO highly under rated. Yes yes, you should keep a battle
rifle of some sort, but pretty much any decent caliber rifle can pop any body armor.” CLIMO
responded, “Yea. Though groin & leg shots are good for luring combatants.” Later in the
conversation, CLIMO stated, “Hell and White Phosphorus can be made via distilling pee. Add
that shit to a good mix of Tiki Torch Oil & Napalm = BBO Kikes.” The term “Kike” is a
derogatory racial slur used to describe members of the Jewish community

13, Between June 19, 2019 and July 8, 2019, during online conversations with the
FBI OCE, CLIMO discussed conducting surveillance on Fremont Street in Downtown Las
Vegas in preparation for a potential attack and described in great detail the geographical layout
of the area. At the beginning of the conversations, the FBI OCE asked, “Sounds like you have
some solid plans in place. Got any plans for a goodbye to Vegas?” CLIMO responded, “Still
thinking on that.” The FBI OCE asked CLIMO, “You been doing any recon lately? Putting
the intel prep into practice?” CLIMO responded with a detailed description of an area around
Fremont Street in Downtown Las Vegas, specifically noting a bar that CLIMO claimed catered
to homosexuals.

16. Between July 8, 2019 and July 15, 2019, during online conversations with the
FBI OCE, CLIMO provided more detail about his plan to carry out an attack on a Las Vegas
synagogue. CLIMO first sent the FBI OCE sending screenshots of Google Maps images of
synagogues in the Las Vegas area. One of the images contained the message, “Also!
Screenshot a group of Kike Synagogue locations in Vegas.” CLIMO proposed using an attack
against homeless people as a test run for attacks against synagogues & community centers.
CLIMO stated that he lived close to one of the synagogues on the map and that there was also

a mosque close to that synagogue.

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 7 of 11

17. CLIMO discussed attacking the synagogue close to his home. In short, CLIMO
proposed attacking the synagogue using an incendiary device combined with a “Light Infantry
Weapon Attack.” CLIMO further discussed a plan for escaping after the attack and sent the
FBI OCE a screenshot of an image from Google Maps of a satellite image of the area around
the synagogue focusing on the escape route.

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18. | CLIMO also discussed his plan to the same synagogue with the CHS.
During that discussion, CLIMO described how to make an explosive device.

19. On August 8, 2019, the JTTF executed court authorized federal search warrants
at CLIMO’s residence. During the search of CLIMO bedroom, which both CLIMO’s aunt and
mother identified, FBI Special Agent Bomb Technician (SABT) Anthony Telenko located a
bottle of “Pot Perm Plus” Potassium Permanganate, which can be used as a strong oxidizing
agent, on the top shelf of CLIMO’s bedroom closet. Also located on the closet shelf were
separate jars of thermite, sulfuric Acid and lithium aluminum hydride, which can be used as
fuels. SABT Telenko further observed a soldering iron, wires, circuit boards, and other
electrical components in CLIMO’s bedroom that are consistent with items needed to construct
an (Improvised Explosive Device) (“IED”) circuit. A green colored notebook containing
numerous hand drawn schematics of IED circuits was also located in CLIMO’s bedroom.
SABT Telenko reviewed the hand drawn schematics and determined they were consistent with
the items and circuitry needed to function a timed explosive device.

20. Inthe garage of the house SABT Telenko located multiple large commercial
fireworks, empty firework “mortar” tubes, and more than five feet of hobby fuse, multiple cans
of brake fluid, and additional fuels. Hobby fuse is commonly used in consumer fireworks and

used to create a delay in fireworks or other explosives.

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 8 of 11

21. Based on SABT Telenko’s training and experience he is aware that the both
oxidizing agents and fuels are common compounds that are used in producing Home Made
Explosives (HMEs). HME can be initiated by heat, shock and friction, including though the
ignition of a hobby fuse. By placing HMEs in items, such as empty firework mortar tubes, they
can be initiated with hobby fuse.

22. Based on SABT Telenko’s training and experience, the above described item’s
found in CLIMO’s bedroom and garage could be used to readily assemble a destructive device
as defined in 26 U.S.C. 5845(f).

Do According to the Bureau of Alcohol, Tobacco, Firearms, and Explosives,

CLIMO has no firearms or destructive devices registered to him in the National Firearms
Registration and Transfer Record.

24. During the execution of the search warrant, CLIMO agreed to voluntarily talk
with me. Based on CLIMO’s statements, there is significant evidence that CLIMO intended to
use the above described item’s found in his bedroom and garage to assemble a destructive
device.

25. During the interview, CLIMO provided the following information. For several
years, CLIMO has studied and experimented with the making of explosive devices. CLIMO
harbors biases and hatred toward various racial and religious groups to include African-
Americans, Jews, and Homosexuals. Toward the end of 2017, CLIMO began to communicate
online, through the encrypted chat application Discord, with members of the Neo-Nazi group,
The Feuerkrieg Division (“FKD”). FKD is a splinter group of the white supremacist extremist
group, Atomwaffen Division (“AWD”) and shares the same ideology and beliefs. For greater

anonymity, CLIMO and FKD began using an encrypted chat application though Wire.

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 9 of 11

26. | CLIMO ultimately became a member of FKD because the group was interested
in his knowledge of constructing explosive devices, and because he was interested in and shared
the same white supremacy extremist views of the group. Additionally, CLIMO wanted to be a
part of FKD because he wanted to do something “generally different” related to his hatred of
African-Americans, Jews, and Homosexuals. According to CLIMO, FKD offered him glory
and the ability to contribute his knowledge of constructing explosive devices toward a
“righteous” cause. CLIMO further discussed drawing a plan and designing a bomb he
intended to build to assist in a race war on behalf of FKD. Ultimately, CLIMO left the online
FKD group because he became bored with the group and their inaction. CLIMO advised that
he wanted to do more against the groups he hates by carrying out violent attacks against them.

27. About the same time that CLIMO became involved with FKD, he also recruited
a homeless person to conduct surveillance on a Las Vegas synagogue to carry out an attack. In
this instance, CLIMO’s plan did not come to fruition because he needed more time to create
better method of attack. CLIMO revisited this plan a few months ago around the same time he
realized that FKD was not going to take violent action and considered igniting the synagogue
on fire with people inside. One of the reasons CLIMO again thought about attacking this
synagogue was to make the statement, “Jews Suck.” The synagogue that CLIMO identified is
that same Las Vegas synagogue that he talked about attacking with the CHS and FBI OCE.

28. CLIMO admitted talking to both the CHS and FBI OCE on using his Wire
encrypted application and stating that he in fact was the person using the Wire online profile
that talked with the CHS and FBI OCE.

29. After CLIMO was placed under arrest and given his Miranda warnings, he agreed
to continue to speak with agents. CLIMO further discussed the acquisition of various electronic

components, which he acknowledged were in his bedroom, to build a bomb or test the circuit

 
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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 10 of 11

with a light bulb. CLIMO stated that fireworks found in his garage were left over from the
Fourth of July and he claimed that he did not possess all of the needed parts for an explosive
device. CLIMO further talked about a plan to mobilize an eight man sniper platoon to conduct
a shooting attack on Jewish people either at a Las Vegas synagogue or any other area of
opportunity. CLIMO explained that over approximately the past two years he has considered
various ideas to carry out an attack on Jewish people, but he is still trying to decide on a plan
that will work.

30. In addition to his interest in building an explosive device, CLIMO stated that he
had developed an interest in building a 4” mortar. In a journal found in his room, CLIMO
sketched a picture of an attack of a Las Vegas bar that he viewed as catering to homosexuals.
Additionally, in this same sketch, CLIMO drew what he described as two infantry squads
attacking the bar with firearms from the outside and one attacking it with a firearms from the
inside. This is the same Las Vegas bar that CLIMO identified to the FBI OCE as a potential
target of attack. Agents seized an AR-15 rifle and a bolt action rifle from CLIMO’s bedroom.

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Case 2:19-mj-00593-NJK Document1 Filed 08/09/19 Page 11 of 11

CONCLUSION
31. Based on the above facts and circumstances, I believe there is probable cause that
CLIMO did violate Title 26 United States Code, Sections 5841, 5861(d) and 5871, Possession

of an Unregistered Firearm.

Respectfully submitted,

HA

(Matthew James Schaeffer, Special Agent
Federal Bureau of Investigation

SUBSCRIBED and SWORN to before me

This Ov day of August 2019

   

 

TES MAGISTRATE JUDGE

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